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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 HOME DEPOT U.S.A., INC.,  )
                           )
          Plaintiff,       )                     CIVIL ACTION
                           )
 v.                        )                     CASE NO. 1:21-cv-02053-JPB
                           )
 AIR PROS, LLC and DOUGLAS )                      JURY TRIAL DEMANDED
 ANTHONY PERERA, JR.,      )
                           )
          Defendants.      )
                           )

                         STIPULATION OF DISMISSAL

      Plaintiff Home Depot U.S.A., Inc. and Defendants Air Pros, LLC and

Anthony Perera, Jr. hereby notify this Court that they have reached a settlement to

resolve all claims the Parties brought or could have brought in this matter and have

executed a Settlement Agreement. Accordingly, pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), the Parties mutually stipulate to the dismissal of all claims

in this matter, with prejudice, with each Party bearing its/his own fees and costs.



                         Signatures follow on the next page.
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        Respectfully submitted this 28th day of July, 2022.



 /s/ Michael R. Baumrind                       /s/ D. Barret Broussard
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 Attorneys for Plaintiff                       Attorney for Defendants
 Home Depot U.S.A., Inc.                       Air Pros, LLC and
                                               Douglas Anthony Perera, Jr.




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                            CERTIFICATE OF SERVICE

        I hereby certify that I have this day electronically filed the within and

foregoing STIPULATION OF DISMISSAL with the Clerk of Court using the

CM/ECF system, which will automatically send e-mail notification of such filing

to all counsel of record.

        This 28th day of July, 2022.



                                         /s/ Michael R. Baumrind
                                         Michael R. Baumrind
                                         Georgia Bar No. 960296




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